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                                    ID #1496



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

BRANDON SCOTT KEENA,

Defendant.                                                  No. 07-30136-DRH

                                     ORDER

HERNDON, Chief Judge:

             Before the Court is Defendant Keena’s second motion to continue

sentence set for November 6, 2009 (Doc. 422). Defendant requests that the current

sentencing hearing be continued for 30 to 45 days as his counsel has another hearing

he must attend on that day. The Government does not object to the continuance.

Therefore, the Court GRANTS Defendant’s motion to continue sentence (Doc. 422)

and CONTINUES the sentencing hearing currently scheduled for November 6, 2009

until January 5, 2010 at 10:00 a.m..



             IT IS SO ORDERED.

             Signed this 15th day of October, 2009.



                                             /s/      DavidRHer|do|
                                             Chief Judge
                                             United States District Court
